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16                          UNITED STATES DISTRICT COURT

17                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

18   UNITED STATES OF AMERICA,               No. 2:20-MJ-02326

19                   Plaintiff,              STIPULATION REGARDING REQUEST FOR
                                             (1) CONTINUANCE OF DATE BY WHICH
20             v.                            AN INDICTMENT OR INFORMATION MUST
                                             BE FILED AND (2) FINDINGS
21   WILLIAM SADLEIR,                        REGARDING EXCLUDABLE TIME PERIODS
                                             PURSUANT TO THE SPEEDY TRIAL ACT
22                   Defendant.

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24        Plaintiff United States of America, by and through its counsel
25   of record, the United States Attorney for the Central District of
26   California and the Fraud Section of the United States Department of
27   Justice, and defendant WILLIAM SADLEIR (“defendant”), by and through
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1    his counsel of record, Deputy Federal Public Defender Adam Olin,

2    hereby stipulate as follows:

3         1.     On May 22, 2020, defendant was arrested for violations of

4    18 U.S.C. § 1344(2) (bank fraud), 18 U.S.C. § 1343 (wire fraud), 18

5    U.S.C. § 1014 (false statement to a financial institution), and 15

6    U.S.C. § 645(a) (false statement to the Small Business

7    Administration).

8         2.     On June 3, 2020, defendant waived preliminary hearing.

9    (Dkt. 23.)    The Speedy Trial Act, 18 U.S.C. § 3161(b), originally

10   required that an information or indictment be filed on or before June

11   21, 2020.

12        3.     By this stipulation, the parties jointly move to continue

13   the date by which an information or indictment must be filed to July

14   21, 2020.

15        4.     The parties agree and stipulate, and request that the Court

16   find, that the ends of justice outweigh the interest of the public

17   and defendant in the filing of an information or indictment within

18   the original date prescribed by the Speedy Trial Act because:

19               a.   The arrest of defendant occurred at a time such that

20   it is unreasonable to expect return and filing of an indictment

21   within the period specified in Section 3161(b).

22               b.   The facts upon which the grand jury must base its

23   determination are complex and, thus, it would be unreasonable to

24   expect return and filing of an indictment within the period specified

25   in Section 3161(b).     That is particularly true given the limited time

26   a grand jury would have to consider the facts because of the

27   restrictions on grand juries imposed by the COVID-19 pandemic:

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1                     i.    On March 31, 2020, in response to the continuing

2    spread of the COVID-19 pandemic, this Court suspended all grand-jury

3    proceedings until at least May 4, 2020, “pending further order of the

4    Court.”   C.D. Cal. Order of the Chief Judge No. 20-044, In Re:

5    Coronavirus Public Emergency, Suspension of Grand Juries, at 3 (Mar.

6    31, 2020).   By subsequent order, the Court continued this suspension

7    through June 1, 2020.     C.D. Cal. General Order No. 20-05, In Re:

8    Coronavirus Public Emergency, Further Order Concerning Jury Trials

9    and Other Proceedings, at 3 ¶ 7 (Apr. 13, 2020).         On May 28, 2020,

10   the Court ordered that in-person sessions of the grand jury may

11   continue at the discretion of the Chief Judge.         C.D. Cal. General

12   Order No. 20-08, In Re: Coronavirus Public Emergency Order Concerning

13   Phased Reopening of the Court, ¶ 8 (May 28, 2020).

14                    ii.   The last grand jury session in the Central

15   District of California was on March 25, 2020.         The government

16   understands grand juries to be resuming their service in the near

17   future on a very limited basis.

18                    iii. This suspension followed a series of prior orders

19   responding to the COVID-19 crisis.         On March 13, 2020, following the

20   President’s declaration of a national emergency, the Court suspended

21   jury selection and jury trials scheduled to begin before April 13,

22   2020.   C.D. Cal. General Order No. 20-02, In Re: Coronavirus Public

23   Emergency, Order Concerning Jury Trials and Other Proceedings (Mar.

24   13, 2020).   The same day, the Court imposed health- and travel-

25   related limitations on access to Court facilities.          C.D. Cal. General

26   Order No. 20-03, In Re: Coronavirus Public Emergency, Order

27   Concerning Access to Court Facilities (Mar. 13, 2020).          On March 19,

28   2020, by Order of the Chief Judge, the Court instituted its

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1    Continuity of Operations Plan, closing all Central District of

2    California courthouses to the public (except for hearings on criminal

3    duty matters) and taking other emergency actions.          C.D. Cal. Order of

4    the Chief Judge No. 20-042, In Re: Coronavirus Public Emergency,

5    Activation of Continuity of Operations Plan (Mar. 19, 2020).           On

6    March 29 and 31, recognizing COVID-19’s continued spread in the

7    community, the Court took further action: implementing video-

8    teleconference and telephonic hearings and -- as noted above --

9    suspending all grand-jury proceedings until May 4, 2020.           C.D. Cal.

10   Order of the Chief Judge No. 20-043, In Re: Coronavirus Public

11   Emergency, Use of Video and Telephonic Conference Technology in

12   Certain Criminal Proceedings (Mar. 29, 2020); Order of the Chief

13   Judge No. 20-044.

14                    iv.   These orders were imposed based on (1) the

15   California governor’s declaration of a public-health emergency in

16   response to the spread of COVID-19, as well as (2) the Centers for

17   Disease Control’s advice regarding reducing the possibility of

18   exposure to the virus and slowing the spread of the disease.           See

19   General Order 20-02, at 1.

20                    v.    The Judicial Council of the Ninth Circuit has

21   declared an emergency in the Central District of California, pursuant

22   to 18 U.S.C. § 3174.     Order, In re Approval of the Judicial Emergency

23   Declared in the Central District of California (9th Cir. Judicial

24   Council Apr. 9, 2020), available at https://cdn.ca9.uscourts.gov/

25   datastore/opinions/2020/04/10/JC%20Order%20and%20Report%20re%20Judici

26   al%20Emergency%20in%20CA-C.pdf.       In the supporting report, the

27   Judicial Council recognized that “under the emergency declarations of

28   national, state, and local governments, as well as recommendations

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1    from the Centers for Disease Control and Prevention to convene groups

2    of no more than 10 people, the Court is unable to obtain an adequate

3    spectrum of . . . grand jurors.”       Id. (Report at 1).

4                     vi.   As these orders and protocols reflect, the COVID-

5    19 pandemic is a global emergency that is unprecedented in modern

6    history.    The virus is spreading through the United States community

7    at an alarming rate.     See Coronavirus Disease 2019 (COVID-19) in the

8    U.S., Centers for Disease Control and Prevention (updated daily),

9    available at https://www.cdc.gov/coronavirus/2019-ncov/cases-

10   updates/cases-in-us.html; Coronavirus Disease 2019 (COVID-19),

11   California Department of Public Health (updated daily), available at

12   https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019

13   .aspx.    The death toll, across the world, is staggering.

14        5.     Based on the foregoing, the parties request that the Court

15   find that for the purpose of computing time under the Speedy Trial

16   Act, 18 U.S.C. § 3161(b), within which an information or indictment

17   must be filed, the time period of June 21, 2020 to July 21, 2020 is

18   deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A) because the

19   ends of justice served by granting a continuance outweigh the best

20   interest of the public and the defendant in a filing of an

21   information or indictment within the period specified in Section

22   3161(b).

23        6.     The parties further request that the Court continue post-

24   indictment arraignment from June 18, 2020 at 12:00 p.m. to July 23,

25   2020 at 12:00 p.m.

26        7.     The parties agree and stipulate, and request that the Court

27   find, that nothing in this stipulation and accompanying order shall

28   preclude a finding that other provisions of the Speedy Trial Act

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1    dictate that additional time periods are excludable from the period

2    within which an information or indictment must be filed.

3     Dated: June 10, 2020                Respectfully submitted,

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8                                            /s/
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11                                        United States Department of Justice

12                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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